Case 1:17-cv-00005-GNS-HBB Document 37 Filed 05/09/18 Page 1 of 4 PageID #: 207




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF KENTUCKY
                       BOWLING GREEN DIVISION
 ________________________________________________________________
                                        )
 JOSEPH KELLAR                          )
                                        )
                  PLAINTIFF             ) Civil Action No. 1:17cv-00005-GNS
 v.                                              ) JUDGE GREG N. STIVERS
                                        )
 MH EQUIPMENT CORPORATION and           )
 MH EQUIPMENT OHIO LLC                  )
                                        )
                  DEFENDANTS            )
 _____________________________________________________________

                                             ORDER


        A telephonic status conference was conducted in this action on May 7, 2018, with

 the undersigned presiding.     Participating in the conference were Mr. Timothy L.

 Stevenson for the Plaintiff; Ms. Laura R. Beasley for the Intervening Plaintiff; and, Mr.

 Harlan E. Judd, III, for the Defendants.

        Counsel for the parties having advised the Court they are interested in

 participating in a settlement conference;

        IT IS ORDERED no later than the close of business on June 15, 2018, Plaintiff

 and Defendants shall deliver under seal, directly to the Magistrate Judge, ex parte

 separate settlement conference statements which shall specify their respective settlement

 positions. Each statement is to be furnished only to the Court and not the other side. The

 statements shall not be filed with the Clerk of the Court but shall be furnished by

 mailing same to Kelly Lovell, case manager for Magistrate Judge Brennenstuhl, at
 1|Page
Case 1:17-cv-00005-GNS-HBB Document 37 Filed 05/09/18 Page 2 of 4 PageID #: 208




 the United States Courthouse, 241 E. Main Street, Bowling Green, Kentucky 42101,

 or    via   e-mail,   in   .pdf    format,    to   kelly_lovell@kywd.uscourts.gov         and

 bbrennenstuhl@kywd.uscourts.gov.

       The Plaintiff’s settlement conference statement shall contain the following:

        1.     A candid assessment of the strengths and weaknesses of Plaintiff’s case on

 the issues of liability and damages and the strengths and weaknesses of the Defendants’

 case on the issues of liability and damages. Nothing in the way of a jury speech shall be

 included.

        2.     An itemization of all special damages which Plaintiff will claim at trial

 and any liens which must be satisfied from a recovery. Plaintiff will provide the

 Defendants with this information at the same time Plaintiff submits the settlement

 conference statement.

        3.     Where non-liquidated damages are involved, the realistic assessment of the

 value of that portion of the claim.

        4.     An assessment of the economic cost of proceeding to trial.

        5.     Where attorney fees are authorized by contract or statute, an assessment of

 the Plaintiff’s total attorney fees as of the time of mediation and projected through trial.

        6.     A statement of the last settlement demand and offer exchanged between the

 parties.

      The Defendants’ settlement conference statement shall contain the following:

        1.     A candid assessment of the strengths and weaknesses of Defendants’ case

 on the issues of liability and damages and the strengths and weaknesses of the Plaintiff’s
 2|Page
Case 1:17-cv-00005-GNS-HBB Document 37 Filed 05/09/18 Page 3 of 4 PageID #: 209




 case on the issues of liability and damages. Nothing in the way of a jury speech shall be

 included.

        2.     The realistic assessment of the value of Plaintiff’s special and non-

 liquidated damages claims.

        3.     An assessment of the economic cost of proceeding to trial.

        4.     Where attorney fees are authorized by contract to Defendants as the

 prevailing party, an assessment of the Defendants’ total attorney fees as of the time of

 mediation and projected through trial.

        By agreement of the parties, the settlement conference is hereby scheduled at the

 United States Courthouse/Federal Building, 241 E. Main Street, Bowling Green,

 Kentucky, on June 22, 2018, commencing at 10:00 a.m., CDT. In addition to counsel

 who will try the case being present, it is required that the parties, or a person with actual

 settlement authority for the parties, likewise be present for the conference. A PERSON

 WITH LIMITED SETTLEMENT AUTHORITY OR A PERSON WHO IS NOT

 DIRECTLY OR ACTIVELY ASSOCIATED WITH THE PARTIES DOES NOT

 MEET THIS REQUIREMENT.

        The Defendants will bring to the settlement conference a proposed release of

 liability so that the parties may agree to specific terms.

        IT IS FURTHER ORDERED the deadline for filing dispositive and Daubert

 motions is held in abeyance pending the outcome of the settlement conference.




 3|Page
Case 1:17-cv-00005-GNS-HBB Document 37 Filed 05/09/18 Page 4 of 4 PageID #: 210




         ENTERED this May 9, 2018




 Copies to:   Counsel of Record


  0/08




 4|Page
